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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
________________________________________________________________________

JOSEPH PARENTEAU,                                    CASE NO: 1:19-cv-08660

       Plaintiff,

vs.                                                  COMPLAINT

BEAU MAISON CORP., a New York
corporation, d/b/a EL CANTINERO, and
GOULD 86 UNIVERSITY PLACE LLC,
a New York limited liability company,

      Defendants.
__________________________________/

       Plaintiff, JOSEPH PARENTEAU (hereinafter the “Plaintiff”), through his

undersigned counsel, hereby files this Complaint and sues BEAU MAISON CORP., a

New York corporation, d/b/a EL CANTINERO, and GOULD 86 UNIVERSITY PLACE

LLC, a New York limited liability company, (hereinafter, collectively, the “Defendants”),

for injunctive relief, attorney’s fees and costs (including, but not limited to, court costs

and expert fees) pursuant to 42 U.S.C. §12181, et. seq., of the AMERICANS WITH

DISABILITIES ACT (“ADA”), the NEW YORK CITY HUMAN RIGHTS LAW

("NYCHRL"), and the NEW YORK STATE HUMAN RIGHTS LAW (“NYSHRL”) and

alleges:

                           JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III

of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred

to as the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331

and §343.




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         2.    Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all

events giving rise to this lawsuit occurred in New York.

         3.    The remedies provided by the New York State Human Rights Law are not

exclusive and state administrative remedies need not be exhausted in connection with

suits brought under the Federal Civil Rights Act.

         4.    At the time of Plaintiff’s visit to EL CANTINERO, prior to instituting the

instant action, JOSEPH PARENTEAU, (hereinafter referred to as “Plaintiff”),

(hereinafter referred to as “Plaintiff”), was a resident of the City and State of New York,

suffered from what constitutes a “qualified disability” under the Americans With

Disability Act of 1990, as he is a tetraplegic, having suffered from Guillain-Barré

syndrome, and uses a wheelchair for mobility.            The Plaintiff personally visited

Defendants’ Property, but was denied full and equal access to, and full and equal

enjoyment of, the facilities at Defendants’ Property, which is the subject of this lawsuit.

         5.    The Defendants, BEAU MAISON CORP., a New York corporation, d/b/a EL

CANTINERO, and GOULD 86 UNIVERSITY PLACE LLC, a New York limited liability

company, are authorized to conduct, and are conducting business within the State of New

York.    Upon information and belief, BEAU MAISON CORP., is the lessee and/or

operator of the real property (hereinafter and heretofore referred to collectively as

“Defendants’ Property”), and the owner of the improvements where the Subject Facility

is located which is the subject of this action, the facility commonly referred to as EL

CANTINERO, (hereinafter the “Subject Facility”) located at 86 University Place, New

York, New York (hereinafter and heretofore referred to collectively as “Defendants’

Property”), which also maintains and controls the Subject Facility. Upon information and

belief, GOULD 86 UNIVERSITY PLACE LLC, is the owner, lessor and/or operator of

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the real property where the Subject Facility is located which is the subject of this action,

the facility commonly referred to as EL CANTINERO, located at 86 University Place,

New York, New York (hereinafter and heretofore referred to collectively as “Defendants’

Property”), which also maintains and controls the Subject Facility.

       6.      All events giving rise to this lawsuit occurred in the City of New York,

State of New York. Venue is proper in this Court as the premises is located in the State

of New York.

 COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       7.      On or about July 26, 1990, Congress enacted the Americans With

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508(a).

       8.      Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical
               or mental disabilities, and this number shall increase as the
               population continues to grow older;

               (ii)     historically, society has tended to isolate and segregate
               individuals with disabilities, and, despite some improvements,
               such forms of discrimination against disabled individuals
               continue to be a pervasive social problem, requiring serious
               attention;

               (iii)    discrimination against disabled individuals persists in
               such critical areas as employment, housing, public
               accommodations, transportation, communication, recreation,
               institutionalization, health services, voting and access to public
               services and public facilities;

               (iv)    individuals with disabilities continually suffer forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and

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               communication barriers, failure to make modifications to existing
               facilities and practices. Exclusionary qualification standards and
               criteria, segregation, and regulation to lesser services, programs,
               benefits, or other opportunities; and,

              (v)       the continuing existence of unfair and unnecessary
               discrimination and prejudice denies people with disabilities the
               opportunity to compete on an equal basis and to pursue those
               opportunities for which our country is justifiably famous, and
               costs the United States billions of dollars in unnecessary expenses
               resulting from dependency and non-productivity.

               42 U.S.C. §12101(a)(1)-(3), (5) and (9).

       9.      Congress explicitly stated that the purpose of the ADA was to:

               (i)     provide a clear and comprehensive national mandate for
               the elimination of discrimination against individuals with
               disabilities;

               (ii)   provide clear, strong, consistent, enforceable standards
               addressing discrimination against individuals with disabilities;
               and,

               (iii)  invoke the sweep of congressional authority, including the
               power to enforce the fourteenth amendment and to regulate
               commerce, in order to address the major areas of discrimination
               faced on a daily by people with disabilities.

               42 U.S.C. §12101(b)(1)(2) and (4).

       10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject

Facility is a place of public accommodation in that it is an establishment which provides

goods and services to the public.

       11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public accommodation

covered by the ADA and which must be in compliance therewith.

       12.     The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations, and/or undergone substantial remodeling, repairs



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and/or alterations, since January 26, 1990, and/or has sufficient income to make readily

achievable accessibility modifications.

       13.     Defendants have discriminated, and continue to discriminate, against the

Plaintiff, and others who are similarly situated, by denying full and equal access to, and

full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

accommodations at Defendants’ Property, in derogation of 42 U.S.C. §12101, et. seq.,

and as prohibited by 42 U.S.C. §12182, et. seq., and by failing to remove architectural

barriers pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily

achievable.

       14.     The Plaintiff has been unable to, and continues to be unable to, enjoy full

and equal safe access to, and the benefits of, all the accommodations and services offered

at Defendants’ Property. Prior to the filing of this lawsuit, Plaintiff personally visited

Defendants’ Property, with the intention of using Defendants’ facilities, but was denied

access to the Subject Property, and therefore suffered an injury in fact. In addition,

Plaintiff continues to desire to visit the Subject Property in the future, but continues to be

injured in that he is unable to and continues to be discriminated against due to the

architectural barriers which remain at Subject Property, all in violation of the ADA, and

the New York State Human Rights Law.

       15.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations

to implement the requirements of the ADA, known as the Americans with Disabilities

Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which

said Department may obtain civil penalties of up to $110,000 for the first violation and

$150,000 for any subsequent violation.

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        16.          The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181, et.

seq., the ADA and 28 C.F.R. §36.302, et. seq., and is discriminating against the Plaintiff

as a result of inter alia, the following specific violations:

              (i)       Failure to provide an accessible entrance to the Subject Facility, due to

                        multiple steps at said entrance, without an ADA-compliant ramp

                        and/or an ADA-compliant wheelchair lift, in violation of 28 C.F.R.

                        Part 36, Section 4.14.

              (ii)      Failure to provide a safe and accessible means of egress from the

                        Subject Facility, in violation of 28 C.F.R. Part 36, Section 4.3.10.

              (iii)     Failure to provide an accessible second level, due to a flight of steps

                        leading to said second level, without an ADA-compliant ramp and/or

                        an ADA-compliant wheelchair lift, in violation of 28 C.F.R. Part 36,

                        Section 4.14.

              (iv)      Failure to provide accessible restrooms, due to flight of steps leading

                        to said restrooms, without an ADA-compliant ramp and/or an ADA-

                        compliant wheelchair lift, in violation of 28 C.F.R. Part 36, Section

                        4.14.

              (v)       Failure to provide an accessible rear dining area on the second level at

                        the Subject Facility, due to multiple steps leading to said ding area on

                        the second level, without an ADA-compliant ramp and/or an ADA-

                        compliant wheelchair lift, in violation of 28 C.F.R. Part 36, Section

                        4.14.

              (vi)      Failure to provide an accessible exterior patio dining area at the

                        Subject Facility, due to multiple steps leading to said patio area,

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            without an ADA-compliant ramp and/or an ADA-compliant

            wheelchair lift, in violation of 28 C.F.R. Part 36, Section 4.14.

    (vii)   The bar, with fixed footstand, is higher than 34 inches above the

            finished floor, in violation of the requirements of 28 C.F.R. Part 36,

            Section 5.2 which requires a maximum height of the bar counter, or a

            60-inch wide section of it, to be 34 inches above the finished floor.

    (viii) All tables in the bar area are at an inaccessible height, in violation of

            28 C.F.R. Part 36, Section 4.32.4.

    (ix)    Failure to provide an accessible restroom entrance in the Subject

            Facility, due to a step at said restroom entrance, without an ADA-

            compliant ramp and/or an ADA-compliant wheelchair lift, in violation

            of 28 C.F.R. Part 36, Section 4.14.

    (x)     Failure to provide sufficient clear floor space/sufficient turning radius,

            to provide safe adequate maneuverability space in the restroom stalls,

            in violation of 28 C.F.R. Part 36, Section 4.2.

    (xi)    Failure to provide access to the restroom entrance, due to a narrow

            doorway at said restroom entrance, in violation of 28 C.F.R. Part 36,

            Section 4.3.3.

    (xii)   Failure to provide at least 17 inches of depth clearance under the

            lavatory in the restroom, as required by 28 C.F.R. Part 36, Section

            4.19.2.

    (xiii) Failure to provide the required underside clearance of at least 29

            inches above the finished floor to the bottom of the apron under the




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            lavatory in the restrooms, for accessibility in compliance with 28

            C.F.R. Part 36, Section 4.1 and Section 4.19.2.

    (xiv)   Failure to install the required rear grab bar in the restroom around an

            accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

    (xv)    Failure to install the required side grab bar in the restroom around an

            accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

    (xvi)   Failure to provide a paper towel dispenser in the restroom, at an

            accessible height as required by 28 C.F.R. Part 36, Section 4.2.

    (xvii) Failure to provide insulation on the exposed hot water and drain pipes

            under the lavatory in the restroom to prevent burns and scrapes, as

            required by 28 C.F. R. Part 36, Section 4.19.4.

    (xviii) Failure to provide ADA-compliant signage at the restroom area, in

            violation of 28 C.F.R. Part 36, Section 4.30.

    (xix)   The cash register in bar area is at an inaccessible height, in violation of

            28 C.F.R. Part 36.

    (xx)    Failure to provide a securely attached floor mat on the second level, in

            violation of 28 C.F.R. Part 36, Section 4.5.3.

    (xxi)   Failure to provide securely attached floor mats throughout main level,

            in violation of 28 C.F.R. Part 36, Section 4.5.3.

    (xxii) Failure to provide adequate directional and accurate informational

            signage throughout the Subject Facility, as required by 28 C.F.R. Part

            36, Section 4.1.3(16).




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              (xxiii) Failure to provide signage, in the Subject Facility, addressing people

                     with disabilities telling them that accessible services are provided, as

                     required by 28 C.F.R. Part 36, Section 4.30.4.

       17.     Upon information and belief, there are other current violations of the ADA

at Defendants’ Property, and only once a full inspection is done can all said violations be

identified.

       18.     To date the architectural barriers, the removal of which is readily

achievable, and other violations of the ADA still exist and have not been remedied or

altered in such a way as to effectuate compliance with the provisions of the ADA.

       19.     Pursuant to the ADA, 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants

have failed to comply with this mandate.

        20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to

make them independently accessible to, and useable by, individuals with disabilities to

the extent required by the ADA, and closing the Subject Facility until the requisite

modifications are completed.

COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

        21.    The New York City Human Rights Law provides:

                 (a) It shall be an unlawful discriminatory practice for any person, being
                 the owner, lessee, proprietor, manager, superintendent, agent or
                 employee of any place or provider of public accommodation because of
                 the actual or perceived … disability … of any person, directly or
                 indirectly, to refuse, withhold from or deny to such person any of the
                 accommodations, advantages, facilities or privileges thereof … to the
                 effect that any of the accommodations, advantages, facilities and

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                privileges of any such place or provider shall be refused, withheld from
                or denied to any person on account of … disability …

                NYC Admin. Code § 8-107(4)(a).

        22.   Defendants, BEAU MAISON CORP., a New York corporation, d/b/a EL

CANTINERO, and GOULD 86 UNIVERSITY PLACE LLC, a New York limited liability

company, are in violation of the New York City Human Rights Law by denying the

Plaintiff full and safe access to all of the benefits, accommodations and services of the

Subject Facility.

        23.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

20 as if set forth in their entirety here.

 COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        24.   The New York State Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being
                the owner, lessee, proprietor, manager, superintendent, agent or
                employee of any place of public accommodation…. because of the …
                disability … of any person, directly or indirectly, to refuse, withhold
                from or deny to such person any of the accommodations, advantages,
                facilities or privileges thereof … to the effect that any of the
                accommodations, advantages, facilities and privileges of any such place
                shall be refused, withheld from or denied to any person on account of …
                disability …

                NYS Exec. Law § 296 (2)(a).

        25.   Defendants’ Property is a place of public accommodation as defined in the

New York State Human Rights Law.

        26.   The Defendants have further violated the New York State Human Rights

Law by being in violation of the rights provided under the ADA.

        27.   Defendants, BEAU MAISON CORP., a New York corporation, d/b/a EL

CANTINERO, and GOULD 86 UNIVERSITY PLACE LLC, a New York limited liability



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company, are in violation of the New York State Human Rights Law by denying the

Plaintiff full and safe access to all of the benefits, accommodations and services of the

Subject Facility.

        28.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

22 as if set forth in their entirety here.

           COUNT IV - VIOLATION OF THE ADMINISTRATIVE CODE
                        OF THE CITY OF NEW YORK

        29.   The Defendants have subjected, and continues to subject, Plaintiff to

disparate treatment by directly and/or indirectly refusing, withholding, and denying the

full accommodations of the Subject Facility, and advantages, facilities and privileges of

its place of public accommodation, all because of disability, in violation of

Administrative Code § 8-107(4).

        30.   The Defendants have discriminated against Plaintiff in violation of

Administrative Code of the City of New York, § 8-107(4), and Local Law 58 by

maintaining and/or creating an inaccessible place of public accommodation.

        31.   The Local Civil Rights Restoration Act of 2005 (the "Restoration Act"), also

known as Local Law 58, clarified the scope of the Administrative Code in relation to the

New York City's Human Rights Law. The Restoration Act confirmed the legislative

intent to abolish "parallelism" between the Administrative Code and the Federal and New

York State anti-discrimination laws by stating as follows:

        The provisions of this title shall be construed liberally for the
        accomplishment of the uniquely broad and remedial purposes thereof,
        regardless of whether federal or New York State civil and human rights
        laws, including those laws with provisions comparably-worded to
        provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code § 8-130 (emphasis added).



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        32.   The Administrative Code is to be construed broadly in favor of Plaintiff to

the fullest extent possible. Albunio v. City of New York, 2011 NY Slip Op 02480 (N.Y.

Court of Appeals, March 31, 2011).

        33.   As a direct and proximate result of the Defendants' unlawful discrimination,

in violation of Administrative Code of the City of New York, Plaintiff has suffered an

injury in fact.

        34.   The Defendants' long-standing refusal and/or lack of effort to make the

Subject Facility fully accessible was egregious and undertaken with reckless disregard to

Plaintiff's rights under the Administrative Code.

        35.   By failing to comply with the law in effect for decades, the Defendants have

articulated to disabled persons, such as the Plaintiff, that they in effect are not welcome

and not desired as patrons of its place of public accommodation.

        36.   The Defendants unlawful discriminatory conduct constitutes willful and

wanton violations of the Administrative Code for which Plaintiff is entitled to an award

of punitive damages. Administrative Code § 8-502.

        37.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

27 as if set forth in their entirety here.

                                ATTORNEYS’ FEES AND COSTS

        38.   The Plaintiff has been obligated to retain the undersigned counsel for the

filing and prosecution of this action. The Plaintiff is entitled to have his reasonable

attorneys’ fees, costs and expenses paid by the Defendants, pursuant to the ADA and the

New York City Human Rights Law.

        39.   Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

compensatory damages contemplated by § 297(9).

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                                       DAMAGES

       40.   The Plaintiff demands one thousand dollars ($1,000.00) in compensatory

damages based on Defendants' violation of the New York City Human Rights Law and

the New York State Human Rights Law, plus punitive damages pursuant to the

Administrative Code of the City of New York.

                                    INJUNCTIVE RELIEF

       41.   Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to

make them readily accessible to, and useable by, individuals with disabilities to the extent

required by the ADA, the New York City Human Rights Law, and the New York State

Human Rights Law and closing the Subject Facility until the requisite modifications are

completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

and requests the following injunctive and declaratory relief:

       A.      The Court declare that the Subject Property and Subject Facility owned,

               operated, leased, controlled and/or administered by the Defendants are

               violative of the ADA, the New York City Human Rights Law, and of the

               New York State Human Rights Law;

       B.      The Court enter an Order requiring the Defendants to alter their facilities

               and amenities to make them accessible to and usable by individuals with

               disabilities to the full extent required by the Title III of the ADA and by

               NYCHRL, and the NYSHRL;

       C.      The Court enter an Order directing the Defendants to evaluate and

               neutralize their policies, practices and procedures toward persons with

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              disabilities, for such reasonable time so as to allow the Defendants to

              undertake and complete corrective procedures to the Subject Facility;

       D.     The Court award reasonable attorney’s fees, all costs (including, but not

              limited to court costs and expert fees) and other expenses of suit, to the

              Plaintiff; and

       E.     The Court award such other and further relief as it deems necessary, just

              and proper.

Dated: This 18th days of September, 2019.
                                            Respectfully submitted,

                                            By: /S/ B. Bradley Weitz           .
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